
PER CURIAM.
The Petitioner, Jay A. Swidler, has filed his petition before the Board of Governors of The Florida Bar seeking reinstatement *556to the practice of law. The Board of Governors, having duly investigated the matter in accordance with the procedures prescribed by the integration rule, certified to this Court that in their judgment the Petitioner has fully rehabilitated himself and is entitled to be reinstated as an attorney at law entitled to practice in all the courts of this state. Upon consideration of said report and recommendation, it is
Ordered, adjudged and decreed that the said Jay A. Swidler be and he is hereby reinstated to membership in good standing in The Florida Bar. As a condition precedent to membership, current dues shall, as in other cases, be remitted to the Florida Bar by the Petitioner.
It is so ordered.
CALDWELL, C. J., and ROBERTS, DREW, ERVIN and ADAMS, JJ., concur.
